Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 1 of 6




                   Exhibit 35
Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 2 of 6
Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 3 of 6
Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 4 of 6
Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 5 of 6
Case 2:10-md-02179-CJB-DPC Document 8910-48 Filed 03/15/13 Page 6 of 6
